
717 S.E.2d 745 (2011)
Gerharda H. SANCHEZ
v.
TOWN OF BEAUFORT, Beaufort Board of Adjustment, Beaufort Historic Preservation Commission, and Douglas E. Smith.
No. 227P11.
Supreme Court of North Carolina.
October 6, 2011.
Wesley A. Collins, Morehead City, for Sanchez, Gerharda H.
Chad W. Essick, Raleigh, for Smith, Douglas E.
Neil B. Whitford, Morehead City, for Town of Beaufort.

ORDER
Upon consideration of the petition filed on the 7th of June 2011 by Petitioner in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
